
PER CURIAM:
This claim was submitted to the Court upon a stipulation agreed to by the parties.
The claimant maintains the Eastern Regional Jail which provides accommodations for prisons from several counties. Many of these prisoners have been sentenced and committed to other facilities, Huttonsville Correctional Center and West Virginia Penitentiary, and owned and operated by respondent; however, respondent is unable to house such prisoners at such other facilities due to overcrowded conditions in such other facilities, and has caused such prisoners to be incarcerated at the Eastern Regional Jail.
*64Respondent has been unable to process the invoices received from the claimant during the 1990-91 fiscal year as it did not have sufficient funds within its budget for these expenses.
Claimant and respondent have agreed that claimant has incurred fair and reasonable costs in the amount of $37,000.00 for providing accommodations for these inmates.
In view of the foregoing the Court makes an award to the claimant in the amount of $37,000.00.
Award of $37,000.00
